JS44 ,Rc. 0010,                                                                         CIVIL COVER SHEET
                                                                                                                                                                                                 :ou^T.
The J.S 44 civil cover sheel and the mrormalioii cimlamed herein neilher replace nor supplement the filing and service of piSa'dih^-or wtier-p^^<^^ fe^ircd by law, excepi as
provided by local rules of court This form,approved by the Judicial Conference of the United Stales in September 1974. is retjutre'dfof.the iSL^riht'4il;rk ot Court for the
purpose orimtiaiing the civil docket sheel. fSlJ:IS'S'IHI'CIIOSS onSKxrI'AUK oh IHISh'oUM.)
I. (a) PLAfNTIFFS
                                                                                                                           s85ff                                                            al^l^Jl'special Agent).
    TRAVIS JARED PARK                                                                                                      CHRISTOPHER WAGNER (in his official capacity)
                                                                                                                           STEVEN RUSSO (in his official^apacity)- r s.
        (b) County of Residence of First Listed Plaintiff                     Denver Countv, CO                              County of Residence ol' First Lisietli^elfeni^ant                  ^Suffjblk CoLintV, MA
                                     r/'."A'( 7-.7'y IN I l.S. I'lAINTIhV (VI.S7;'.S7                                                                          (IN (LS. )'IAINlihh'7'ASh:S()NI.Y)
                                                                                                                             NOTE:       IN LAND CONDEMNATION CASES. USE '1 HE LOCATION OF
                                                                                                                                         THE TRACT OF LAND INVOLVED.


        (C) Attorneys O-'rm Name. AMns.^i. aiiJ leleplume Numher)                                                                Attorneys f/y


    Pro Se


II. BASIS OF JURISDICTION il'Uii. e on "A "mOiie HaxOnh-}                                                       III. CITIZENSHIP OF PRINCIPAL PARTIES ll'lmeun "X" mOne Hoxfor Plaintiff
                                                                                                                         (h'or           ('ascs <)nly)                                               unit One Hox for Defendant)
    □   I   U S (iiivetumeni                Cl .>    Federal Oucsiion                                                                                 PTF         DEF                                                 PTF           DEF

               Plaiiilitf                              (I '..v. liiivernmeiu Not a I'ariy)                          Citizen of This State             □    I      □     I     Incorporated or I'riiicipal Place          0 4        0 4
                                                                                                                                                                                of Business In Tills State


    iX 2    U.S Oovemmeni                   O 4      Diversiiy                                                      Citizen of Another State          O 2         O     2     Incorporated tux/Principal Place           0 5        0 5
               Detciidaiil                             (liHlieiile ('iii:eii\hip oj I'arlie.t in Item III)                                                                       of Business In Anulher State


                                                                                                                    Citizen or Subject of a           □    3                  Foreign Nation                             0 6        0 6
                                                                                                                    __Forei^jn_Countij_^_
                                                                                                                                                                   Click here for. Nauiie ol Suit Code Dcscrimions.
1              roNTRArr                                                       TORTS                                                                                   BANKRUPTCY                           OTHF» «ll*'i:iriaas--          1

    0 110 insurance                           PER.SONAL INJURA                          PER.SONAL INJURY            0 635 Drug Related Seizure             0 422 Appeal 28 USC 158                 0 375 False Claims Act

    0 120 Marine                          0 310 Air(ilaiic                      0 365 Personal Injuiy •                   ofPio|>crty21 USC 881            0 42.1 Wiihdrawal                       0 376 Qui Tarn (31 USC
    0 1.10 Miller Act                     0 315 Airplane I'loduct                          Product Liabilits'       □ 690 Oihcr                                       28 USC 157                         3729(a))
    0 140 Negniialile Instrument                Liability                       0 367 Health Care/                                                                                                 0 400 State Reapportionmeni
    0 150 Recovcrv of Overpayment   0 320 .A.s.sault. Liltcl &                            Pharmaceulical                                                         PROPERTY RIGHTS                   0 410 Amilnist
          & Enforcement of Judgment         Slandci                                       Personal Injury                                                  0 820 Copyrigliis                       0     430 Banks and Banking
    0 151 Mctiicare Act             0 .1.10 Federal l-jiiployers'                         Product Liability                                                0 830 Patent                            0 450 Commerce
    0 152 Recovciy ofDefaulicd              Liability                           0 368 Asbestos Personal                                                    0 835 Patent - Abbreviated              0     460 Deportation
            Siudent Loans                 □ 340 Marine                                     Injury Product                                                             New Dnig Application         O 470 Racketeer Inlluenced and
            (Hyclmlcs N'eieians)          0 345 Marine Product                             Liability                                                       0 840 Trademark                                   Corrupt Organizations
    0 15.1 Recovery of Overpay meni                  Liability                     PERSONAL PROPF.RTV                              LABOR                        .SOCIAL SECURITY                     0 480 Consumer Credit
            of VcicraiTs Bcncfils         O .ISO Motor Vehicle                  0 370 Oilier Fraud                   0 710 Fail Laboi Slandard.s           0 861 HI A I1395IT,                               (15 use 168! or 1692)
    0 160 Stockholders'Suits              0 355 Motor Vehicle                   0 371 Truth in Lending                      Act                            0 862 Black Lung (923,                    0   485 Telephone Consumer
    0 100 Oihci Contract                             Product Liability          0 380 Other Personal                 0 720 Labor/Management                0 863 DIWC/DIWW (405(g),                          Protection Act
    0 105 Coniraci Product Liability      0 360 Other Personal                            Property Damage                   Relations                      0 864SSIDTiile XVI                        0 490 Cable/Sal TV
    0 106 FViiiicluso                           injuiy                           0 385 Property Damage               0 740 Railway Lalior Aei              0 865 RSI (405(g,)                        O   850 Securiiiei^Cominodities/
                                          0 362 Personal hijuiy -                         Product Liability          0 751 Family and Medical                                                                Exchange
                                                     Medical MalpraL'ticc                                                   Leave .Act                                                               0   890 Other Siatulory Actions
1           REAL PROPERTY                       CIVIL RIGHTS                      PRISONER PETtrrONS                 0 790 Odier Labor Litigation                FEDE3UL TAX SUITS                   0   891 Agricultural Acts
    0 210 Land Condemnation                31[ 440 Other Ci\ ii Rights              llalicas Corpus:                 0 791 Employee Relirenieni            0 870 Taxes (U.S. PlaintilV               0 893 Env ironiiiental Matters
    0 220 Foreclosure                      0 441 Voting                          0 46.1 .Alien Detainee                     Income Security Act                       or Defendant)                  o 895 Freedom oflnfonnation
    0 230 Rent Tease & rjectnicni         0 442 F-iiipioymcni                    0 510 Motions to Vacate                                                   O 871 IRS—Third Party                             Act
    0 240 Torts lo Land                   0 44.1 Housing'                                 .Sentence                                                                   26 USC 7609                    o 896 Arbitration
    0 245 Tort Pioducl Liability                     Accommodaiioiis             0 530 General                                                                                                       0 899 Administrative Procedure
    O 200 All Otiicr Real Property         0 445 Amer. w Disabiiitics -          0 535 Death Penalty                 !      niMlGIMXlON                                                                      Act/Review or Appeal of
                                                     Employment                     Other:                           0 462 Naturalization Application                                                        Agency Decision
                                           0 446 .\mcr. w/Disabilities • 0 540 Mandamus & Other                      0 465 Other immigration                                                         0   950 Consiiluiionality of
                                                     Other                       0 550 Civil Rights                         Actions                                                                          Stale Statutes
                                           0 448 Educaiion                       0 555 Prison Condition
                                                                                 0 560 Civil Detainee-
                                                                                          Conditions of
                                                                                          Continemenl

    V. ORIGIN tl'Uiee on "A"" m One Hax Onlyl
    X 1 Original               O2    Removed from                   n     3     Kemandcd from                   □ 4 Reinstated or        □ 5 Transferred from                     6   Multidistricl             □ 8 Mullidistrict
            Proceeding               Stale Court                                Appellate Court                      Reopened                Another District                         Litigation •                    Litigation •
                                                                                                                                                 Dpeajy)                              Transfer                       Direct File
                                                Cite the U S Civil Statute under which vou are filing (INi not dieJun'sdiciionalstatutes unlessdiveniiy):
                                                    Federal Rules of Criminal Procedure Rule 41(g)
    VI. CAUSE OF ACTION
                                                Brief description of cause
                                                    Unlawful seizure of property with an invalid search warrant
    VII. REQUESTED IN                           □ CUFCK IF THIS ISA CLASS ACTION                                         DEMANDS                                            Cl IFX-K YES only if demanded in complaint:
             COMPLAINT:                                UNDFR RULF 23. F R Cv P                                                                                              JURY DEMAND:                   □ Yes         >!INo
    Viil. RELATED CASE(S)
          IF ANY                                     (See iii.\lruelioii\J:      JUDGF.                                                                          DOCKET NUMBER
    DATE                                                                            SIGNATURE OF ATfORNEV OF RECORD

                                                                                                                 P-W! . PmT v/-g.
    FOR QFFK E USE ONLY

        RECEIPT e                      AMOUNT                                             APPLYING IFP                                        JUDOE                                   MAG, JUDGE
